            Case: 1:18-cr-00185 Document #: 1 Filed: 03/22/18 Page 1 of 7 PageID #:1                  v
 FILED
      MAR   22 201SR/             UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
  THOMAS G. BRUTON                      EASTERN DIVISION
CLERK, U.S. DISTRICT COURT
       UNITED STATES OF AMERICA                                  18C           R            185
                                                       Violations: fitle L8, United States Code,
                    v.                                 Sections 1951(a)(1), 924(c)(1)(A), and
                                                       23t4
       TOBIAS DIGGS, also known as "Bias" or                       3UOEE FEINERMAN
       "Chief Bias,"
       MARVON IIAMBERLIN, also known as
       "M-Dogr" and                                      ITAcISTHAIE JUDGE
                                                                           OII.BEfiT
       JOSHUA MCCLELI"AN


                                              COI]NT ONE

            The SPECIAI FEBRUARY 2017 GRAND JURY charges:

             1.    Beginning in or around January 20L7, and continuing until on or about

     April 2Ot7,in the Northern District        of Illinois, Eastern Division, and elsewhere,

                             TOBIAS DIGGS, also known as "Bias" or "Chief Bias,"
                             MARV'N       *Y33,13il-tttHffi.i:    "M-Dog"' and


      defendants herein, did conspire with each other, and with others known and unknown

     to the Grand Jrry, to obstruct, delay, and affect commerce, and the movement of

      articles and commodities in commerce, by robbery, as "commerce" and "robbery" ate

     defined   in Title   1-8,   United States Code, Section 1951(b), in violation of Title     18,

     United States Code, Section 1951(a).

            2.     It   was part of the conspiracy that the defendants TOBIAS DIGGS,

     MARVON IIAMBERLIN and JOSHUA MCCLELLAN, and others known and

     unknown to the Grand Jury, agreed to rob Razny Jewelers                 in Hinsdale in     the

     Northern District of Illinois.
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      3.        It was further part   of the conspiracy that the defendants:

           a. identified a jewelry store for the armed robbery and              conducted

                surveillance of the targeted jewelry store;

           b.   obtained, possessed and brandished firearms       in   connection   with the

                commission of the armed robbery;

           c. used cellular     telephones    to communicate with      one another while

                planning and committing the robbery;

           d.   used a vehicle for transportation to and from the location of the robbery,

                including a 2003 Lexus R)( SIIV;

           e.   concealed their identities by wearing hoods, masks and other items; and

           f.   robbed Razny Jewelers ofjewelry and watches at gunpoint; and

           g.   sold or otherwise disposed of some of the stolen jewelry and watches in

                Chicago, Illinois; Oak Lawn, Illinois and Atlanta, Georgia.

      4.        It   was further part of the conspiracy that TOBIAS DIGGS, MARVON

IIAMBERLIN, and JOSHUA MCCLELLAN would and did conceal and hide, and

cause to be concealed and hidden, the purposes of acts done         in furtherance of the

conspiracy.

      In violation of Title 18, United States Code, Section 1951(a).
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                                        COI.]I{T TWO

        The SPECIAL FEBRUARY 2OL7 GRAND JURY further charges:

        On or about March L7,20!7, at Hinsdale, in the Northern District of Illinois,

Eastern Division and elsewhere,

                TOBIAS DIGGS, also known as "Bias" or "Chief Bias,"
                MARVON IIAMBERLIN, also known 9rs "M-Dog," and
                           JOSHUA MCCLELI,AN,

defendants herein, did obstruct, delay, and affect "commerce," as defined in Title 18,

United States Code, Section 1951(b), and the movement of articles and commodities

in   commerce, by robbery,   in that the defendants did unlawfully take and obtain
jewelry and watches from the person and in the presence of an employee of Razny

Jewelers, located at 37 S. Washington Street in Hinsdale, Illinois, against her will,

by means of an actual and threatened force, and fear of injury to that employee;

        In violation of Title 18, United States Code, Sections 1951(a) and'2-
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                                       COI]I{T THREE
            \
      The SPECIAL FEBRUARY 2Ol7 GRAND JURY turther charges:

      On or about March   L7   , 2OL7 , at Hinsdale,   in the Northern District of Illinois,

Eastern Division and elsewhere,

               TOBIAS DIGGS, also known as "Bias" or "Chief Bias,"
               MARVON HAMBERLIN, also known as "M-Dog," and
                          JOSHUA MCCLELLAN,

defendants herein, did use, carry, and brandish a firearm during and in relation to a

crime of violence for which they each may be prosecuted in a court of the United

States, namely, conspiracy affecting commerce in violation of Title L8, United States

Code, Section 1951(a), as charged     in Count One of this Indictment, and robbery
affecting commerce in violation of fitle 18, United States Code, Section 1951(a), as

charged in Count T\vo of this Indictment;

      In violation of Title 18, United States Code, Section 924(c)(1XA) and,2.




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                                  COI,]NT FOT,I,R
      The SPECIAL FEBRUARY 20L7 GRAND JURY further charges:

      On or about March L8,2017 , in the Northern District of Illinois, Eastern

Division, the Northern District of Georgia, and elsewhere,

               TOBIAS DIGGS,.also known as "Bias" or "Chief Bias,"
               MARVON IIAMBERLIN, also known as "M-Dog," and
                          JOSHUA MCCLELLAN,

defendants herein, did transport and cause to be transported in interstate commerce,

from Illinois to Georgia, goods and merchandise with a value of more than $5,000,

namely jewelry and other goods with a total value over $200,000, knowing that such

goods had been stolen;


      In violation of Title 18, United States Code, Section 23L4.
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                                FORFEITT]RE ALLE GATION

      The SPECIAL FEBRUARY 2Ot7 GRAND JURY further alleges:


       L.         The allegations contained in this Indictment are incorporated here by

reference for the purpose of alleging forfeiture pursuant to Title 18, United States

Code, Section 924(dX1) and Title 28, United States Code, Section 246L(c).

       2.         As a result of their violations of Title 18, Untied States Code, Section

924(c)(1)(A) and 1951(a) as alleged in the foregoing Indictment


                    TOBIAS DIGGS, also known as "Bias" or "Chief Bias,"
                    MARVON IIAMBERLIN, also known as "M-Dog," and
                               JOSHUA MCCLELI,AN,

defendants herein, shall forfeit to the United States, pursuant to Title 18 United

States Code, Section 924(dX1) and Title 28, United States Code, Section 246t(c), any

and all right, title, and interest he may have in any property involved in the charged

offense.

       3.         The interest of the defendant subject to forfeiture pursuant to Title 18

United States Code, Section 924(dX1) and Title 28, United States Code, Section

246L(c), includes     but is not limited to property seized on or about March 27, 2Oi-|7

including:

             a. a Sturm Ruger Redhawk .44 magnum caliber revolver and associated
                  ammunition;

             b. a Smith & Wesson Model      915, 9 mm semi-automatic handgun, bearing

             '    serial number YKI/I4252, and associated ammunition;

             c.   a Frederique Constant watch, bearing serial number L922884;
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       d. a Frederique Constant watch, bearing serial number     1985737;

       e.   a Frederique Constant watch, bearing serial number 282X58416:.

       f.   a Frederique Constant watch, bearing serial number FC-282AB586;

       g.   a Frederique Constant watch, bearing serial number FC-282AS5B6;

       h.   a Patek Phillipe watch, bearing serial number 584043816O49144;

       i.   a Tudor watch, bearing serial number 1609396;

       j.   a Tudor watch, bearing serial number 1359262; and,

       k. a Tudor watch, bearing serial number 1313781.


                                    A TRUE BILL:


                                    FOREPERSON



UNITED STATES ATTORNEY
